
433 So.2d 711 (1983)
STATE of Louisiana
v.
Lucien C. ALBERT.
No. 83-K-0999.
Supreme Court of Louisiana.
June 10, 1983.
Denied.
LEMMON, J., concurs. Since defendant at the first trial requested a continuance of a mistrial, indicating he was willing to abort the proceeding and give up his "valued right to have his trial completed by a particular tribunal", he cannot contend on appeal that the district attorney abused his perogative by dismissing the prosecution after half of the jurors had been sworn. See United States v. Jorn, 400 U.S. 470 at 484, 91 S.Ct. 547 at 556, 27 L.Ed.2d 543.
